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                                          ORDERED.


     Dated: July 31, 2019




                         UNITED STATES BANKRUPTCY COURT
                  MIDDLE DISTRICT OF FLORIDA – FORT MYERS DIVISION
 In Re:

 MARY ANN WALLACE                                         Case No. 9:19-bk-04307-FMD
                                                          Chapter 7
                    Debtor.
                                                  /

  ORDER APPROVING THE TRUSTEE’S APPLICATION FOR AUTHORITY AND
  APPROVAL TO EMPLOY DEBRA MONTEROSSO, A MEMBER OF NATIONAL
 DEFAULT REALTY, LLC DBA THE MONTEROSSO REO TEAM AND APPROVAL
        OF LISTING AGREEMENT FOR SALE OF REAL PROPERTY

        THIS CAUSE came before the Court without hearing upon the Application to Employ
(Doc. 11) filed by the Chapter 7 Trustee herein, Robert E. Tardif Jr., and pursuant to 11 U.S.C.
§327, requesting authority to employ the professional services of Debra Monterosso, a member of
National Default Realty, LLC d/b/a The Monterosso REO Team, in this matter for the listing and
sale of real estate known as 1131 SW 4th Lane Cape Coral, FL 33991, and to approve the Listing
Agreement for this property.

          The Court, having jurisdiction herein, finds as follows:

          1.     The Applicant is the duly qualified and acting Chapter 7 Trustee of the bankruptcy
                 estate of the above-referenced Debtor.

          2.     Debra Monterosso, a member of National Default Realty, LLC d/b/a The
                 Monterosso REO Team, has the expertise and knowledge to assist the Chapter 7
                 Trustee with the marketing and sale of real property located at 1131 SW 4th Lane
                 Cape Coral, FL 33991, and which is legally described as follows:
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               hereinafter referred to as the “Real Property”.

       3.      The Debtors have not declared the Real Property as exempt.

       4.      The Chapter 7 Trustee desire to employ Debra Monterosso, a member of National
               Default Realty, LLC dba The Monterosso REO Team (jointly referred to hereafter
               as “Local Listing Broker”), to provide professional services on behalf of this
               bankruptcy estate for the marketing and sale of the Real Property identified
               hereinabove, in which the above-named Debtor holds an interest. The Local Listing
               Broker is requesting a commission of two percent (2%) of the gross sale proceeds.
               All fees and expenses will be presented to the Court for approval prior to payment.

       5.      A duly executed and verified statement of disinterestedness was attached to the
               Application as Exhibit “A” setting out that the employees and members of National
               Default Realty, LLC dba The Monterosso REO Team are disinterested persons, as
               the term is used in the Bankruptcy Code, do not hold an interest adverse to the
               bankruptcy estate, is not aware of any connection with the Debtor, creditors, any
               other party in interest, their respective attorneys or accountants, the United States
               Trustee or any person employed in the Office of the United States Trustee and
               understand there is a continuing duty to disclose any such adverse interest.

       6.      Also attached to the Trustee’s Application as Exhibit “B” was a copy of the Listing
               Agreement and the Chapter 7 Trustee requested that the Court approve this
               Agreement, which the Chapter 7 Trustee has executed on behalf of this bankruptcy
               estate.

       7.      BK Global Real Estate Services (“BK Global”) has been retained by the Chapter 7
               Trustee and BK Global has agreed to fully cooperate with Local Listing Broker.

       8.      Bank of America claims a mortgage interest in the Real Property and has consented
               to the sale of the Real Property subject to their security interest.

        The Court, having reviewed the file herein and being fully advised, finds that good cause
exists to grant the Trustee’s Application and for the entry of this Order. It is

        ORDERED that the Notice as to the Application to Employ Debra Monterosso, a member
of National Default Realty, LLC dba The Monterosso REO Team, as served by the trustee upon
all parties of interest in this matter was due, proper and sufficient, and no further or additional
notice is necessary or required.

       IT IS FURTHER ORDERED that the Chapter 7 Trustee’s Application is hereby granted
and the Chapter 7 Trustee is hereby AUTHORIZED to employ the professional services of Debra
Monterosso, a member of National Default Realty, LLC dba The Monterosso REO Team, in this
bankruptcy estate, for the listing and sale of the Real Property.
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        IT IS FURTHER ORDERED that the Listing Agreement with Debra Monterosso, a
member of National Default Realty, LLC dba The Monterosso REO Team, for the sale of the
subject Real Property is hereby approved. Compensation will be determined later in accordance
with 11 U.S.C. § 330.
        .


Trustee, Robert E. Tardif Jr., is directed to serve a copy of this Order on interested parties and file
a proof of service within 3 days of entry of the Order.
